  Filed 03/30/18                                       Case 14-23526                                                 Doc 97
               GEOFFREY M. RICHARDS
               Bankruptcy Trustee
               P.O. Box 579
               Orinda, CA 94563
1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.     (916) 288-8365
                                  UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF CALIFORNIA
                                       SACRAMENTO DIVISION


              In re:                                        §
                                                            §
              DEAN, PEGGY ANNETTE                           §      Case No. 14-23526-B-7
                                                            §
                                  Debtor                    §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      Geoffrey Richards, chapter 7 trustee, submits this Final Account, Certification that the
              Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 151,695.60                          Assets Exempt: 143,586.58
              (Without deducting any secured claims)

              Total Distributions to Claimants: 9,987.97            Claims Discharged
                                                                    Without Payment: 59,991.62

              Total Expenses of Administration: 14,644.89


                      3) Total gross receipts of $ 24,632.86 (see Exhibit 1), minus funds paid to the debtor and
              third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 24,632.86 from the liquidation of
              the property of the estate, which was distributed as follows:




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                                                    CLAIMS            CLAIMS                  CLAIMS               CLAIMS
                                                  SCHEDULED          ASSERTED                ALLOWED                PAID



  SECURED CLAIMS
  (from Exhibit 3)                                  $ 287,723.26               $ 0.00                $ 0.00                  $ 0.00

  PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4)                                         NA           14,644.89              14,644.89                14,644.89

  PRIOR CHAPTER
    ADMIN. FEES AND
    CHARGES (from Exhibit 5)                                 NA                  NA                    NA                       NA

    PRIORITY UNSECURED
    CLAIMS (from Exhibit 6)                                 0.00                0.00                  0.00                     0.00

  GENERAL UNSECURED
  CLAIMS (from Exhibit 7)                              73,850.00          43,291.59              43,291.59                 9,987.97

  TOTAL DISBURSEMENTS                               $ 361,573.26        $ 57,936.48            $ 57,936.48           $ 24,632.86


                    4) This case was originally filed under chapter 7 on 04/04/2014 . The case was pending
            for 48 months.

                   5) All estate bank statements, deposit slips, and canceled checks have been submitted to
            the United States Trustee.

                    6) An individual estate property record and report showing the final accounting of the
            assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
            estate bank account, showing the final accounting of the receipts and disbursements of estate
            funds is attached as Exhibit 9.

                   Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
            foregoing report is true and correct.

            Dated: 03/10/2018                        By:/s/Geoffrey Richards
                                                                                   Trustee
            STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
            exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                EXHIBITS TO
                                                              FINAL ACCOUNT


               EXHIBIT 1 – GROSS RECEIPTS

                              DESCRIPTION                                    UNIFORM                                     $ AMOUNT
                                                                            TRAN. CODE1                                  RECEIVED

      ESTATE OF A DECEDENT                                                     1249-000                                      23,865.59

      ESTATE OF A DECEDENT                                                     1249-002                                         767.27

  TOTAL GROSS RECEIPTS                                                                                                      $ 24,632.86
  1
   The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


               EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                      PAYEE                                       DESCRIPTION                          UNIFORM           $ AMOUNT
                                                                                                      TRAN. CODE            PAID

  NA                                                                                                      NA                        NA

  TOTAL FUNDS PAID TO DEBTOR &                                                                                                   $ 0.00
  THIRD PARTIES


               EXHIBIT 3 – SECURED CLAIMS

                                                    UNIFORM       CLAIMS
                                                                                      CLAIMS               CLAIMS
  CLAIM NO.               CLAIMANT                   TRAN.     SCHEDULED                                                 CLAIMS PAID
                                                                                     ASSERTED             ALLOWED
                                                     CODE     (from Form 6D)

                Allied Trustee Services 990
                Reserve Drive, Suite 208
                Roseville, CA 95678                                    7,000.00                  NA                 NA              0.00


                Allied Trustee Services 990
                Reserve Drive, Suite 208
                Roseville, CA 95678                                        0.00                  NA                 NA              0.00




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                                                  UNIFORM        CLAIMS
                                                                                  CLAIMS             CLAIMS
  CLAIM NO.             CLAIMANT                   TRAN.      SCHEDULED                                              CLAIMS PAID
                                                                                 ASSERTED           ALLOWED
                                                   CODE      (from Form 6D)

               Ford Cred PO Box Box
               542000 Omaha, NE 68154                               19,305.00                NA                NA              0.00


               Pnc Bank PO Box 3180
               Pittsburgh, PA 15230                                 59,095.00                NA                NA              0.00


               Treasurer Tax Collector-
               County Clerk Charles A.
               Lomeli 675 Texas Street Ste
               1900 Fairfield, CA 94533                              1,189.26                NA                NA              0.00


               Us Bank Home Mortgage
               4801 Frederica St Owensboro,
               KY 42301                                            166,980.00                NA                NA              0.00


               Us Bank PO Box 5227
               Cincinnati, OH 45201                                 34,154.00                NA                NA              0.00

  TOTAL SECURED CLAIMS                                           $ 287,723.26              $ 0.00          $ 0.00            $ 0.00


               EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                              CLAIMS             CLAIMS              CLAIMS
                PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                            SCHEDULED           ASSERTED            ALLOWED
                                            CODE

  GEOFFREY RICHARDS                         2100-000                    NA           3,213.29           3,213.29           3,213.29


  GEOFFREY RICHARDS                         2200-000                    NA                 4.48               4.48             4.48


  INTERNATIONAL SURETIES                    2300-000                    NA             10.22              10.22              10.22


  Union Bank                                2600-000                    NA            641.90             641.90             641.90




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                                            UNIFORM
                                                               CLAIMS             CLAIMS             CLAIMS
                 PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                             SCHEDULED           ASSERTED           ALLOWED
                                             CODE

  HEFNER, STARK AND MARIOS,
  LLP                                        3210-000                    NA           10,643.50        10,643.50         10,643.50


  HEFNER, STARK AND MARIOS,
  LLP                                        3220-000                    NA               131.50          131.50           131.50

  TOTAL CHAPTER 7 ADMIN. FEES                                         $ NA          $ 14,644.89       $ 14,644.89      $ 14,644.89
  AND CHARGES



              EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                            UNIFORM
                                                               CLAIMS             CLAIMS             CLAIMS
                 PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                             SCHEDULED           ASSERTED           ALLOWED
                                             CODE

  NA                                               NA                    NA                  NA               NA               NA

  TOTAL PRIOR CHAPTER ADMIN.                                          $ NA                 $ NA             $ NA             $ NA
  FEES AND CHARGES



              EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                 CLAIMS             CLAIMS
                                                   UNIFORM
                                                               SCHEDULED           ASSERTED          CLAIMS
  CLAIM NO.              CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                                (from Form       (from Proofs of    ALLOWED
                                                    CODE
                                                                    6E)              Claim)

               Franchise Tax Board
               Bankruptcy Section, MS A-
               340 PO Box 2952
               Sacramento, CA 95812-2952                                  0.00                 NA             NA              0.00




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                                                              CLAIMS            CLAIMS
                                                  UNIFORM
                                                            SCHEDULED          ASSERTED           CLAIMS
  CLAIM NO.             CLAIMANT                   TRAN.                                                        CLAIMS PAID
                                                             (from Form      (from Proofs of     ALLOWED
                                                   CODE
                                                                 6E)             Claim)

              Internal Revenue Service PO
              Box 7346 Philadelphia, PA
              19101-7346                                              0.00                 NA              NA            0.00


              United States Attorney Civil
              Division 450 Golden Gate
              Avenue San Francisco, CA
              94102-3400                                              0.00                 NA              NA            0.00

  TOTAL PRIORITY UNSECURED                                          $ 0.00              $ 0.00         $ 0.00           $ 0.00
  CLAIMS



              EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                              CLAIMS            CLAIMS
                                                  UNIFORM
                                                            SCHEDULED          ASSERTED           CLAIMS
  CLAIM NO.             CLAIMANT                   TRAN.                                                        CLAIMS PAID
                                                             (from Form      (from Proofs of     ALLOWED
                                                   CODE
                                                                 6F)             Claim)

              ARS National Service, Inc PO
              Box 463023 Escondido, CA
              92046                                                   0.00                 NA              NA            0.00


              Capital Management Service,
              LP 698 1/2 South Odgen
              Street Buffalo, NY 14206                                0.00                 NA              NA            0.00


              Chase PO Box 15298
              Wilmington, DE 19850                               16,264.00                 NA              NA            0.00




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                                                               CLAIMS            CLAIMS
                                                  UNIFORM
                                                             SCHEDULED          ASSERTED           CLAIMS
  CLAIM NO.             CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form      (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)             Claim)

              Equifax- Credit Bureau PO
              Box 740241 Atlanta, GA
              30374                                                    0.00                 NA              NA            0.00


              Experian- Credit Union P.O.
              Box 9701 Allen, TX 75013                                 0.00                 NA              NA            0.00


              JCC and Associates Inc PO
              Box 519 Sauk Rapids, MN
              56379                                                    0.00                 NA              NA            0.00


              Mcydsnb 9111 Duke Blvd
              Mason, OH 45040                                      1,732.00                 NA              NA            0.00


              TransUnion - Credit Bureau
              P.O. Box 2000 Chester, PA
              19022                                                    0.00                 NA              NA            0.00


              United Recovery System PO
              Box 722929 ATTN: Mrs.
              White Houston, TX 77272                                  0.00                 NA              NA            0.00


              Us Bank PO Box 790084
              Saint Louis, MO 63179                                8,692.00                 NA              NA            0.00


              Van Ru Credit Corp 11069
              Strang Line Rd Bldg E
              Lenexa, KS 66215                                         0.00                 NA              NA            0.00


  000004      CAPITAL ONE, N.A.                   7100-000         1,879.00            1,879.74       1,879.74          433.68


  000002      DISCOVER BANK                       7100-000         4,623.00            4,623.99       4,623.99        1,066.82




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                                                               CLAIMS             CLAIMS
                                                  UNIFORM
                                                             SCHEDULED           ASSERTED           CLAIMS
  CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                              (from Form       (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)              Claim)

              PORTFOLIO RECOVERY
  000006      ASSOCIATES, LLC                     7100-000          5,898.00            4,667.16        4,667.16        1,076.78


              PORTFOLIO RECOVERY
  000007      ASSOCIATES, LLC                     7100-000          9,438.00            9,438.42        9,438.42        2,177.57


              PORTFOLIO RECOVERY
  000008      ASSOCIATES, LLC                     7100-000        16,161.00           13,517.09       13,517.09         3,118.58


              QUANTUM3 GROUP LLC
  000001      AS AGENT FOR                        7100-000          1,374.00            1,374.94        1,374.94          317.22


  000003      US BANK N.A.                        7100-000          4,648.00            4,648.83        4,648.83        1,072.55


  000005      US BANK N.A.                        7100-000          3,141.00            3,141.42        3,141.42          724.77

  TOTAL GENERAL UNSECURED                                        $ 73,850.00        $ 43,291.59      $ 43,291.59       $ 9,987.97
  CLAIMS




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                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:       1
                                                                                              ASSET CASES                                                                                                    Exhibit 8
  Case No:            14-23526      B   Judge: CHRISTOPHER D. JAIME                                                                    Trustee Name:                     Geoffrey Richards
  Case Name:          DEAN, PEGGY ANNETTE                                                                                             Date Filed (f) or Converted (c):   04/04/14 (f)
                                                                                                                                      341(a) Meeting Date:               05/13/14
  For Period Ending: 03/07/18                                                                                                         Claims Bar Date:                   09/12/14



                                        1                                             2                          3                         4                         5                                 6
                                                                                                        Estimated Net Value
                                                                                  Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                                Asset Description                                Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                    (Scheduled and Unscheduled (u) Property)                       Values                and Other Costs)          OA=554(a) Abandon             the Estate

   1. RESIDENCE                                                                      84,000.00                             0.00           OA                                  0.00                  FA
       Personal Residence: 1953 Manor Pl Num 104 Fairfield CA 94533
   2. RENTAL PROPERTY                                                               130,000.00                             0.00                                               0.00                  FA
       1201 Glen Cove Parkway #1002 Vallejo, CA 94591 Foreclosed by HOA
   3. CASH                                                                                 29.00                           0.00                                               0.00                  FA
       Cash
   4. FINANCIAL ACCOUNTS                                                                   25.00                           0.00                                               0.00                  FA
       US Bank Checking Account #6162
   5. FINANCIAL ACCOUNTS                                                                    0.64                           0.00                                               0.00                  FA
       US Bank Savings Account #1052
   6. FINANCIAL ACCOUNTS                                                                    1.65                           0.00                                               0.00                  FA
       Travis Credit Union Checking Account #8050
   7. FINANCIAL ACCOUNTS                                                                    0.00                           0.00                                               0.00                  FA
       Travis Credit Union Savings Account #8000
   8. FINANCIAL ACCOUNTS                                                                   10.11                           0.00                                               0.00                  FA
       US Bancorp Investments Brokerage Account Number: 1307
   9. FINANCIAL ACCOUNTS                                                                  101.09                           0.00                                               0.00                  FA
       US Bank Checking Account# 1890
   10. HOUSEHOLD GOODS                                                                      0.00                           0.00                                               0.00                  FA
       Household Goods & Furnishings
   11. BOOKS / COLLECTIBLES                                                               700.00                           0.00                                               0.00                  FA
       Books, Music, CD's
   12. WEARING APPAREL                                                                1,000.00                             0.00                                               0.00                  FA
       Clothing
   13. INSURANCE POLICIES                                                                   0.00                           0.00                                               0.00                  FA
       Symetra Life Insurance Term Life Policy Number: 6705 Death Benefit:



  LFORM1                                                                                                                                                                                                           Ver: 20.00g
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                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                Page:       2
                                                                                               ASSET CASES                                                                                                  Exhibit 8
  Case No:            14-23526       B   Judge: CHRISTOPHER D. JAIME                                                                  Trustee Name:                     Geoffrey Richards
  Case Name:          DEAN, PEGGY ANNETTE                                                                                            Date Filed (f) or Converted (c):   04/04/14 (f)
                                                                                                                                     341(a) Meeting Date:               05/13/14
                                                                                                                                     Claims Bar Date:                   09/12/14



                                         1                                             2                        3                         4                         5                                 6
                                                                                                       Estimated Net Value
                                                                                   Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                                Asset Description                                 Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                    (Scheduled and Unscheduled (u) Property)                        Values              and Other Costs)          OA=554(a) Abandon             the Estate

       50,000
   14. PENSION / PROFIT SHARING                                                       64,566.81                           0.00                                               0.00                  FA
       US Bank Retirement 401(k) Savings
   15. ESTATE OF A DECEDENT                                                            2,214.88                           0.00                                               0.00                  FA
       Per schedules, settlement with Armstrong World Industries, Inc
       Asbestos Settlement Trust for client Cornell M Janes Trust Amount:
       $113,642.52 Net Settlement: $17,046.38 Payees: Susan M Janes (80%)
       & Peggy Annette Dean (20%). Original payment sent directly to debtor
       in the amount of $2,214.88 and exempted by debtor.

       Update 4 15 15 - Remaining payments under settlement estimated to be
       $55,000 to $180,000 and estate is entitled to 20% of payments less legal
       expense. Payments administered by Waters & Krauss, LLP. Asbestos
       claim from various companies in addition to Armstrong World
       Industries. Trustee valued estimated at $20,000. Debtor has agreed that
       future payments be directed to estate. Added as separate unscheduled
       asset.
   16. VEHICLES                                                                       12,633.00                           0.00                                               0.00                  FA
       2012 Ford Fusion Sedan 39,000 Miles Good Condition
   17. VOID (u)                                                                        Unknown                            0.00                                               0.00                  FA
   18. ESTATE OF A DECEDENT (u)                                                            0.00                     20,000.00                                           24,632.86                          0.00
       11/21/17. Asset reserved for further administration by court order.
       Remaining payments under settlement estimated to be $55,000 to
       $180,000 and estate is entitled to 20% of payments less legal expense.
       Payments administered by Waters & Krauss, LLP. Asbestos claim from
       various companies in addition to Armstrong World Industries. Trustee
       valued estimated at $20,000. Debtor has agreed that future payments be
       directed to estate. Added as separate unscheduled asset as debtor did



  LFORM1                                                                                                                                                                                                          Ver: 20.00g
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                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                             Page:        3
                                                                                                 ASSET CASES                                                                                                               Exhibit 8
  Case No:             14-23526       B   Judge: CHRISTOPHER D. JAIME                                                                             Trustee Name:                      Geoffrey Richards
  Case Name:           DEAN, PEGGY ANNETTE                                                                                                       Date Filed (f) or Converted (c):    04/04/14 (f)
                                                                                                                                                 341(a) Meeting Date:                05/13/14
                                                                                                                                                 Claims Bar Date:                    09/12/14



                                          1                                                   2                            3                          4                         5                                    6
                                                                                                                Estimated Net Value
                                                                                        Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                                Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                Gross Value of Remaining Assets
                    (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

       not disclose other settlements on schedules.

       Update 9/20/16 - Estimated value exceeded by most recent payment.
       Waters and Krauss LLP has not been able to provide an estimate of
       future settlments, however it does appear likley that there may be
       additional funds.

                                                                                                                                                                                                    Gross Value of Remaining Assets
   TOTALS (Excluding Unknown Values)                                                       $295,282.18                         $20,000.00                                           $24,632.86                            $0.00
                                                                                                                                                                                                    (Total Dollar Amount in Column 6)

     _____________________________________________________________________________________________________________________________
     Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


     Update 9 14 17 - Decision made to move forward with case closing but reserve asset for any significant payments.
     Update 4/25/17 - Even after checking with Waters and Kraus, who informed me that no payments were pending, just a week
     later, 2 additional payments totaling $1,932.00 were received in March 2017. We will wait for another 6 months to
     determine if additional payments might be pending. Estimated TFR date revised again to 12/30/17


     Update 9 /15/16 Additional partial payment of $5,354.29 received. Still unable to quantify possible future payment
     streams. Will continue to monitor for future payments and should no payments be made for 6 months, will consider closing
     case but reserving asset.


     Update 8/2/16 - Additional partial payment of $10,308.57 received.


     Update 6/17/16 - Waters and Kraus, the counsel representing the asbestos claimants, has not been able to quantify
     possible future payment streams. Since the last update, the estate as received 3 payments totaling $4,785.03. However




  LFORM1                                                                                                                                                                                                                          Ver: 20.00g
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                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                          Page:       4
                                                                                                 ASSET CASES                                                                            Exhibit 8
  Case No:             14-23526       B    Judge: CHRISTOPHER D. JAIME                                                         Trustee Name:                      Geoffrey Richards
  Case Name:           DEAN, PEGGY ANNETTE                                                                                     Date Filed (f) or Converted (c):   04/04/14 (f)
                                                                                                                               341(a) Meeting Date:               05/13/14
                                                                                                                               Claims Bar Date:                   09/12/14
     the last payment received in May 2016 was only $479.55, so the payments appear to be diminishing. It is the trustee’s
     intentions to collect payments through 2016 and then further assess the viability of future payments.


     Update 11/16/15 - Information received with last payment was not helpful in determining future payment stream. Per
     conversation with HSM, the decision was made to allow subsequent payment to be made to further determine viability of
     payment stream. Estimated TFR has been revised to 12/21/16


     Update 7/28/15 - Still attempting to quantify the nature and amount of the future payment stream. In conversation with
     attorney representing the asbestos settlement, we should receive a payment shortly. The accounting that accompanies the
     payment may assist in determining future cash flows.


     Update 4 15 15- The debtor has agreed that all future payments be directed to the estate and signed an agreement
     directing those payments be made. We are attempting to quantify the cash flow stream and may look to selling the future
     collections.


     In addition to claim listed on schedule B, Debtor is receiving stream of payments related to the death of father in
     various asbestos claims. Undisclosed asset has been asset to form 1 with an estimated value of $20,000. Trying to
     determine future value of settlements. HSM has been hired to represent estate.


     Initial Projected Date of Final Report (TFR): 06/30/15           Current Projected Date of Final Report (TFR): 12/30/17




  LFORM1                                                                                                                                                                                      Ver: 20.00g
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                                                                                                    FORM 2                                                                                            Page:    1
                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
    Case No:             14-23526 -B                                                                                                Trustee Name:                      Geoffrey Richards
    Case Name:           DEAN, PEGGY ANNETTE                                                                                        Bank Name:                         Union Bank
                                                                                                                                    Account Number / CD #:             *******6796 Checking Account
    Taxpayer ID No:    *******5739
    For Period Ending: 03/07/18                                                                                                     Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                    Separate Bond (if applicable):


             1              2                               3                                                 4                                                 5                       6                 7
      Transaction       Check or                                                                                                            Uniform                                                   Account / CD
         Date           Reference                Paid To / Received From                         Description Of Transaction                Tran. Code      Deposits ($)         Disbursements ($)      Balance ($)
                                                                                    BALANCE FORWARD                                                                                                                0.00
            08/01/15       18       Waters & Kraus, LLP                             Payment from WatersKruas for settlm                    1249-000                  1,354.15                                 1,354.15
                                    3219 McKinney Ave                               ent with Wester MacArthur
                                    Dallas, TX 75204
            08/01/15       18       Waters & Kraus                                  Payment from Waters Kraus for settl                    1249-000                   786.80                                  2,140.95
                                    3219 McKinney Ave                               ement with A.P. Green Industries for espestos claim.
                                    Dallas, TX 75204                                Delay in deposit due to check being held by company
                                                                                    atty.
            09/25/15                Union Bank                                      BANK SERVICE FEE                                       2600-000                                         15.00             2,125.95
            10/26/15                Union Bank                                      BANK SERVICE FEE                                       2600-000                                         15.00             2,110.95
            11/25/15                Union Bank                                      BANK SERVICE FEE                                       2600-000                                         15.00             2,095.95
            12/23/15       18       Waters & Kraus, LLP                             Payment from Waters & Kraus for set                    1249-000                  3,538.21                                 5,634.16
                                    3219 McKinney Ave                               tlement with Fibreboard Corp. Delay in deposit due
                                    Dallas, TX 75204                                to check not sent from Waters/Kraus until 12/15/15.
            12/28/15                Union Bank                                      BANK SERVICE FEE                                       2600-000                                         15.00             5,619.16
            01/25/16                Union Bank                                      BANK SERVICE FEE                                       2600-000                                         15.00             5,604.16
            01/27/16                International Sureties Ltd                      Bond Premium 2016                                      2300-000                                           1.44            5,602.72
                                    701 Podras Street, Suite 420
                                    New Orleans, LA 70139
            02/25/16                Union Bank                                      BANK SERVICE FEE                                       2600-000                                         15.00             5,587.72
            03/25/16                Union Bank                                      BANK SERVICE FEE                                       2600-000                                         15.00             5,572.72
            04/05/16       18       Waters & Kraus, LLP                             Additional payment for settlement w                    1249-002                   767.27                                  6,339.99
                                    3219 McKinney Avenue                            ith Fibreboard Corp.
                                    Dallas, TX 75204
            04/25/16                Union Bank                                      BANK SERVICE FEE                                       2600-000                                         15.00             6,324.99
            05/16/16       18       Waters & Kraus, LLP                             Additional payment for settlement w                    1249-000                   479.55                                  6,804.54
                                    3219 McKinney Ave                               ith Fibreboard Corp. Check sent from Waters/Kraus
                                    Dallas, TX 75204                                May 10, thus reason for delay in deposit.
            05/25/16                Union Bank                                      BANK SERVICE FEE                                       2600-000                                         15.00             6,789.54


                                                                                                                                    Page Subtotals                   6,925.98               136.44
                                                                                                                                                                                                              Ver: 20.00g
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Filed 03/30/18                                                                              Case 14-23526                                                                                                       Doc 97
                                                                                                    FORM 2                                                                                            Page:     2
                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
    Case No:             14-23526 -B                                                                                                Trustee Name:                      Geoffrey Richards
    Case Name:           DEAN, PEGGY ANNETTE                                                                                        Bank Name:                         Union Bank
                                                                                                                                    Account Number / CD #:             *******6796 Checking Account
    Taxpayer ID No:    *******5739
    For Period Ending: 03/07/18                                                                                                     Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                    Separate Bond (if applicable):


             1              2                               3                                                4                                                  5                       6                 7
      Transaction       Check or                                                                                                           Uniform                                                    Account / CD
         Date           Reference                Paid To / Received From                         Description Of Transaction               Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
            06/27/16                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          15.00              6,774.54
            07/25/16                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          15.00              6,759.54
            07/29/16       18       Waters & Kraus, LLP                             Payment from Waters & Kraus for set                   1249-000               10,308.57                                    17,068.11
                                    3219 McKinney Ave                               tlement with Thorpe Insulation Company. Delay in
                                    Dallas, TX 75204                                deposit due to check not mailed from WK until
                                                                                    7/19/16.
            08/25/16                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          15.00             17,053.11
            09/13/16       18       Waters & Kraus, LLP                             Payment from Waters & Kraus for set                   1249-000                   5,454.29                                 22,507.40
                                    3219 McKinney Ave                               tlement with Thorpe Insulation Company
                                    Dallas, TX 75204
            09/26/16                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          25.29             22,482.11
            10/25/16                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          28.63             22,453.48
            11/25/16                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          33.31             22,420.17
            12/27/16                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          32.20             22,387.97
            01/17/17                International Sureties Ltd                      Bond Premium                                          2300-000                                            8.78            22,379.19
                                    701 Podras Street, Suite 420
                                    New Orleans, LA 70139
            01/25/17                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          33.22             22,345.97
            02/27/17                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          33.26             22,312.71
            03/20/17       18       Waters & Kraus, LLP                             Payment from Waters & Kraus for set                   1249-000                    762.14                                  23,074.85
                                    3141 Hood Street, Suite 700                     tlement with Burns & Roe
                                    Dallas, TX 75219
            03/20/17       18       Waters & Kraus, LLP                             Payment from Waters & Kraus for set                   1249-000                   1,181.88                                 24,256.73
                                    3141 Hood Street, Suite 700                     tlement with Armstrong World Industries, Inc.
                                    Dallas, TX 75219
            03/27/17                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          29.99             24,226.74
            04/25/17                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          34.27             24,192.47
            05/25/17                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          34.84             24,157.63
            06/26/17                Union Bank                                      BANK SERVICE FEE                                      2600-000                                          35.94             24,121.69


                                                                                                                                    Page Subtotals               17,706.88                  374.73
                                                                                                                                                                                                              Ver: 20.00g
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Filed 03/30/18                                                                              Case 14-23526                                                                                                    Doc 97
                                                                                                     FORM 2                                                                                        Page:     3
                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
    Case No:             14-23526 -B                                                                                           Trustee Name:                    Geoffrey Richards
    Case Name:           DEAN, PEGGY ANNETTE                                                                                   Bank Name:                       Union Bank
                                                                                                                               Account Number / CD #:           *******6796 Checking Account
    Taxpayer ID No:    *******5739
    For Period Ending: 03/07/18                                                                                                Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                               Separate Bond (if applicable):


             1              2                                3                                                4                                            5                       6                   7
      Transaction       Check or                                                                                                      Uniform                                                      Account / CD
         Date           Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
            07/25/17                Union Bank                                      BANK SERVICE FEE                                 2600-000                                            34.74             24,086.95
            08/25/17                Union Bank                                      BANK SERVICE FEE                                 2600-000                                            35.84             24,051.11
            09/25/17                Union Bank                                      BANK SERVICE FEE                                 2600-000                                            35.79             24,015.32
            10/25/17                Union Bank                                      BANK SERVICE FEE                                 2600-000                                            34.58             23,980.74
            11/16/17     003001     HEFNER, STARK and MARIOS, LLP                   Trustee Attorney Fees and Expense                                                               10,775.00              13,205.74
                                    Attn: Aaron Avery
                                    2150 River Plaza Drive, Suiite 450
                                    Sacramento, CA 95833-3883
                                                                                           Fees                   10,643.50          3210-000
                                                                                           Expenses                131.50            3220-000
            02/07/18     003002     GEOFFREY RICHARDS                               Claim 1T, Payment 100.000%                                                                         3,217.77             9,987.97
                                    PO Box 579                                      Trustee Compensation and Expense
                                    Orinda, CA 94563
                                                                                           Fees                   3,213.29           2100-000
                                                                                           Expenses                 4.48             2200-000
            02/07/18     003003     Quantum3 Group LLC as agent for                 Claim 000001, Payment 23.072%                    7100-000                                           317.22              9,670.75
                                    Comenity Bank                                   (1-1) Unsecured Debt
                                    PO Box 788
                                    Kirkland, WA 98083-0788
            02/07/18     003004     Discover Bank                                   Claim 000002, Payment 23.071%                    7100-000                                          1,066.82             8,603.93
                                    DB Servicing Corporation
                                    PO Box 3025
                                    New Albany OH 43054-3025
            02/07/18     003005     US BANK N.A.                                    Claim 000003, Payment 23.071%                    7100-000                                          1,072.55             7,531.38
                                    BANKRUPTCY DEPARTMENT                           (3-1) Account Number (last 4
                                    PO BOX 5229                                     digits):8933
                                    CINCINNATI, OH 45201-5229
            02/07/18     003006     Capital One, N.A.                               Claim 000004, Payment 23.071%                    7100-000                                           433.68              7,097.70
                                    c o Becket and Lee LLP                          (4-1) CREDIT CARD DEBT


                                                                                                                               Page Subtotals                        0.00              17,023.99
                                                                                                                                                                                                           Ver: 20.00g
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Filed 03/30/18                                                                            Case 14-23526                                                                                                                Doc 97
                                                                                                 FORM 2                                                                                                    Page:      4
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                       Exhibit 9
    Case No:             14-23526 -B                                                                                          Trustee Name:                       Geoffrey Richards
    Case Name:           DEAN, PEGGY ANNETTE                                                                                  Bank Name:                          Union Bank
                                                                                                                              Account Number / CD #:              *******6796 Checking Account
    Taxpayer ID No:    *******5739
    For Period Ending: 03/07/18                                                                                               Blanket Bond (per case limit):      $ 5,000,000.00
                                                                                                                              Separate Bond (if applicable):


             1              2                              3                                              4                                                 5                          6                         7
      Transaction       Check or                                                                                                     Uniform                                                               Account / CD
         Date           Reference               Paid To / Received From                       Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                    POB 3001
                                    Malvern, PA 19355-0701
            02/07/18     003007     US BANK N.A.                                   Claim 000005, Payment 23.071%                    7100-000                                                724.77                   6,372.93
                                    BANKRUPTCY DEPARTMENT                          (5-1) Account Number (last 4
                                    PO BOX 5229                                    digits):3957
                                    CINCINNATI, OH 45201-5529
            02/07/18     003008     Portfolio Recovery Associates, LLC             Claim 000006, Payment 23.071%                    7100-000                                               1,076.78                  5,296.15
                                    POB 41067
                                    Norfolk VA 23541
            02/07/18     003009     Portfolio Recovery Associates, LLC             Claim 000007, Payment 23.071%                    7100-000                                               2,177.57                  3,118.58
                                    POB 41067
                                    Norfolk VA 23541
            02/07/18     003010     Portfolio Recovery Associates, LLC             Claim 000008, Payment 23.071%                    7100-000                                               3,118.58                       0.00
                                    POB 41067
                                    Norfolk VA 23541

                                                                                                          COLUMN TOTALS                                      24,632.86                  24,632.86                          0.00
                                                                                                              Less: Bank Transfers/CD's                           0.00                       0.00
                                                                                                          Subtotal                                           24,632.86             24,632.86
                                                                                                              Less: Payments to Debtors                                                 0.00
                                                                                                          Net
                                                                                                                                                             24,632.86             24,632.86
                                                                                                                                                                                  NET                             ACCOUNT
                                                                                                          TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                          Checking Account - ********6796                     24,632.86                   24,632.86                         0.00
                                                                                                                                                  ------------------------    ------------------------   ------------------------
                                                                                                                                                              24,632.86                   24,632.86                         0.00
                                                                                                                                                  ==============             ==============              ==============
                                                                                                                                                   (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                              Transfers)               To Debtors)                    On Hand




                                                                                                                              Page Subtotals                        0.00                    7,097.70
                                                                                                                                                                                                                     Ver: 20.00g
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Filed 03/30/18                                                                          Case 14-23526                                                                                                  Doc 97
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                        Exhibit 9
    Case No:             14-23526 -B                                                                                      Trustee Name:                    Geoffrey Richards
    Case Name:           DEAN, PEGGY ANNETTE                                                                              Bank Name:                       Union Bank
                                                                                                                          Account Number / CD #:           *******6796 Checking Account
    Taxpayer ID No:    *******5739
    For Period Ending: 03/07/18                                                                                           Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                          Separate Bond (if applicable):


            1               2                             3                                            4                                              5                       6                  7
      Transaction       Check or                                                                                                 Uniform                                                     Account / CD
         Date           Reference               Paid To / Received From                    Description Of Transaction           Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                                                       Checking Account - ********6796




                                                                                                                         Page Subtotals                         0.00                  0.00
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